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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

                                               )
 MICROSOFT CORPORATION, a                      )
 Washington corporation,                       )
               Plaintiff,                      )
                                                    Civil Action No: 1-16-cv-00993 (LO/TCB)
                                               )
        v.                                     )
                                               )
 JOHN DOES 1-2, CONTROLLING A                  )
 COMPUTER NETWORK AND THEREBY                  )
 INJURING PLAINTIFF AND ITS                    )
 CUSTOMERS,
                                               )
                                               )
               Defendants.                     )
                                               )
             NOTICE OF FILING OF COURT MONITOR REPORT NO. 13

       Pursuant to the Court’s Order for Permanent Injunction dated August 22, 2017 at Dkt.

No. 60, the undersigned hereby submits the Court Monitor’s Report No. 13 as Exhibit 1.




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 Dated: September 8, 2021     Respectfully submitted,

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